                   U.S. District Court for the Northern District Of Illinois
                                 Attorney Appearance Form


Case Title: USA v. Robert Kelly                            Case Number: 19-cr-00567-1


An appearance is hereby filed by the undersigned as attorney for:
Defendant, Robert Kelly
Attorney name (type or print): Jennifer Bonjean

Firm: Bonjean Law Group, PLLC

Street address: 750 Lexington Avenue, 9th Floor

City/State/Zip: New York, NY 10022

Bar ID Number: 6269443                                     Telephone Number: (718) 875-1850
(See item 3 in instructions)

Email Address: jennifer@bonjeanlaw.com

Are you acting as lead counsel in this case?                                    ✔ Yes              No

Are you acting as local counsel in this case?                                   ✔ Yes              No

Are you a member of the court’s trial bar?                                      ✔ Yes              No

If this case reaches trial, will you act as the trial attorney?                 ✔ Yes              No

If this is a criminal case, check your status.                  ✔ Retained Counsel
                                                                      Appointed Counsel
                                                                      If appointed counsel are you
                                                                      a
                                                                          Federal Defender
                                              CJA Panel Attorney
______________________________________________________________________
In order to appear before this ourt an attorney must either be a member in good standing of this ourt’s
general bar or be granted leave to appear pro hac vice as provided for by local rules 83.12 through 83.14.
I declare under penalty of perjury that the foregoing is true and correct. Under 28 . . §1746, this
statement under perjury has the same force and effect as a sworn statement made under oath.

Executed on 2/18/2022

Attorney signature:            S/ JENNIFER BONJEAN
                               (Use electronic signature if the appearance form is filed electronically.)
                                                                                               Revised 8/1/2015
